
29 N.Y.2d 571 (1971)
The People of the State of New York, Appellant,
v.
Paul Watts, Respondent.
Court of Appeals of the State of New York.
Argued May 24, 1971.
Decided July 6, 1971.
Frank S. Hogan, District Attorney (Burton N. Lipshie and Michael R. Juviler of counsel), for appellant.
Eleanor Jackson Piel for respondent.
Concur: Chief Judge FULD and Judges BURKE, BERGAN, BREITEL and GIBSON. Judges SCILEPPI and JASEN dissent and vote to reverse on the dissenting opinion at the Appellate Division.
Order affirmed on the opinion at the Appellate Division.
